         Case 6:20-cv-00108-ADA Document 98 Filed 12/06/21 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

PARKERVISION, INC.,                                       Civil Action No. 6:20-cv-00108-ADA
                              Plaintiff,
                                                          JURY TRIAL DEMANDED
       vs.

INTEL CORPORATION,
                              Defendant.


                    COVID-19 ADDENDUM TO PROTECTIVE ORDER

       WHEREAS, Plaintiff ParkerVision, Inc. (“ParkerVision” or “Plaintiff”) and Defendant

Intel Corporation (“Intel”), hereafter referred to as “the Parties,” have worked together to

reconcile the needs of this case with the exigencies of the ongoing public health emergency;

       WHEREAS, the Court entered a Protective Order on November 8, 2021 (Dkt. No. 95)

(“the Protective Order”);

       WHEREAS, prior to the Parties’ negotiation of the Protective Order, the outbreak of the

novel coronavirus (COVID-19) had been declared a global pandemic by the World Health

Organization (“WHO”);

       WHEREAS, both the WHO and the Centers for Disease Control and Prevention have

indicated that the spread of COVID-19 is continuing and has recommended social distancing

and/or remote work continue, in order to limit further community spread of COVID-19;

       WHEREAS, in addition to these orders and advisories, numerous state and federal courts,

including the U.S. District Court for the Western District of Texas, have issued Orders restricting

or preventing public access to courthouses given the severity of risk to persons by the spread of

COVID-19;




                                                 1
          Case 6:20-cv-00108-ADA Document 98 Filed 12/06/21 Page 2 of 6




       WHEREAS, Intel’s normal security procedures, memorialized in the existing Protective

Order, for the treatment of Schematics used as part of litigation are not possible so long as the

public health orders and advisories are in place;

       WHEREAS, solely in this period of national—and international—public health

emergency, Intel has developed, as a special accommodation, a temporary alternative to the

inspection protocols set forth in the Protective Order that uses dedicated, specially-configured

Schematics discovery laptops (“Remote Review Laptop”) that can be shipped to reviewers who

are sheltering in place and enable the recipient of each such Remote Review Laptop to review

code in an environment designed to approximate the security precautions set forth in the

Protective Order to allow discovery of Schematics in this action to occur while the public health

restrictions are in place; and

       WHEREAS, Plaintiff acknowledges the exceptional exigencies presented by the

international health emergency,

       WHEREAS Intel states that its accommodations during this emergency do not constitute

a proper approach in any other circumstances;

       NOW THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

        1.      This COVID-19 Addendum to the Protective Order shall be effective immediately
upon entry and shall continue in effect until April 7, 2022, unless extended by agreement of the
Parties or further order of the Court. Except as modified herein, all other provisions of the
Protective Order shall remain in full force and effect.

        2.      Defined terms in this Addendum have the meaning established in the Protective
Order entered in this action (i.e., Dkt. No. 95). In addition, “Authorized Reviewer,” in the
context of this Addendum, shall mean any person who (a) is authorized under the Protective
Order (i.e., Dkt. No. 95) to access materials designated as “HIGHLY CONFIDENTIAL –
OUTSIDE ATTORNEYS’ EYES ONLY - SCHEMATICS” and (b) if an Outside Consultant,
has agreed to be bound by the provisions of this Addendum by signing a copy of Exhibit B.
Notwithstanding the number of Authorized Reviewers that may be permitted under the
Protective Order, in no event will the Producing Party be required to supply more than three (3)
Remote Review Laptops under this Addendum.


                                                    2
     Case 6:20-cv-00108-ADA Document 98 Filed 12/06/21 Page 3 of 6




3.       Notwithstanding anything to the contrary in the Protective Order:

       (a)     Plaintiff’s counsel shall request the Remote Review Laptop on behalf of
the Authorized Reviewer no less than ten (10) business days prior to a proposed remote
review session.

      (b)     Any Remote Review Laptop made available to Plaintiff’s Authorized
Reviewers by the Defendant may be used as follows:

                (i)      When kept in an office, the Remote Review Laptop must be kept,
                at all times when not in use in accordance herewith, within a locked room
                (including a secure closet, cabinet, drawer, or storage container) within the
                office of the Authorized Reviewer. When kept in a home, the Remote
                Review Laptop must be kept at all times when not in use in accordance
                herewith, within a high grade gun safe within the home of the Authorized
                Reviewer;

                (ii)    Any Authorized Reviewer who is to receive a Remote Review
                Laptop shall, prior to receipt thereof, and upon Defendant’s request,
                provide Defendants with details regarding the location at which such
                computer will be used for reviewing (“Schematics Review Room”) and
                the location at which such computer will be stored when not being used
                for reviewing;

                (iii) No recordable media or recordable devices, including without
                limitation sound recorders, computers, cell phones, smart watches,
                peripheral equipment, cameras, devices containing unobstructed cameras
                (e.g., webcams, unless entirely shielded with an opaque material), CDs,
                DVDs, or drives of any kind, or non-electronic devices capable of similar
                functionalities to any of the foregoing, may be in the Schematics Review
                Room when the Remote Review Laptop is powered on; however, to the
                extent such devices are unable to be removed without substantial burden
                (e.g. desktop computer) such devices shall be powered off and remain off
                during the review of the Schematics;

                (iv)    Written notes relating to the Schematics may be taken only in
                spiral- or permanently-bound notebooks. The Schematics may not be
                copied into the notes. Notwithstanding this provision, names of
                procedures, functions, and subroutines (but not the code within those
                procedures, functions, and subroutines), as well as file names and
                locations (i.e., directory path), may be copied into the notes.

                (v)    Each review session must take place between the hours of 9 a.m. to
                5 p.m. Eastern Time on business days (i.e. weekdays that are not Federal
                holidays), or at other reasonable times as mutually agreed;




                                          3
Case 6:20-cv-00108-ADA Document 98 Filed 12/06/21 Page 4 of 6




          (vi)    Upon the completion of each review session, Authorized Reviewer
          shall provide, at Defendant’s request, a declaration confirming under
          penalty of perjury that no unauthorized electronic records of the
          Schematics were created or transmitted in any way;

          (vii) While any Remote Review Laptop is in use, its screen shall be
          positioned in such a way that it is not visible from any external window of
          the room in which it is stored, or such window shall be covered with
          blinds, shades, or a similar covering;

          (viii) A third-party vendor, retained by Defendant to facilitate the
          Remote Review, (“Defendant’s Remote Review Vendor”) may
          periodically visually monitor the session by means of a remote camera
          feed of the Schematics Review room. The Authorized Reviewer agrees to
          cooperate in installing and positioning the camera equipment to facilitate
          this remote monitoring, notwithstanding the camera will not be pointed
          towards the Authorized Reviewer’s notes. Such camera equipment shall
          be shipped by Defendant’s Remote Review Vendor configured to record
          visually but with any audio monitoring or recording functionalities
          disabled;

          (ix)    Before the Remote Review Laptop is turned on, the Authorized
          Reviewer who intends to review the Schematics shall provide at least
          three hour notice to Defendant via email at jason.choy@wilmerhale.com
          and marissa.lalli@wilmerhale.com that they are beginning a review
          session.;

          (x)    During the review session and at all other times, the Authorized
          Reviewer shall not copy, remove, or otherwise transfer any Schematics
          from the Remote Review Laptop including, without limitation, copying,
          removing, or transferring the Schematics onto any recordable media or
          recordable device;

          (xi)    The Remote Review Laptop must be turned off when not in active
          use for a period of more than 10 minutes during the review, and the VPN
          connection must be closed at the end of each review session once any
          “print to PDF” files created pursuant to paragraph 3(d) are collected by
          Defendant’s remote Schematics review vendor;

          (xii) Immediately after the Remote Review Laptop is turned off, the
          Authorized Reviewer shall notify Defendant via email at
          jason.choy@wilmerhale.com and marissa.lalli@wilmerhale.com that they
          are ending a review session;

          (xiii) At all times, all network and USB ports and wireless transmitters
          of each Remote Review Laptop shall be and remain disabled (other than
          those functionalities specifically required to activate and maintain the

                                   4
  Case 6:20-cv-00108-ADA Document 98 Filed 12/06/21 Page 5 of 6




              VPN connection for each review session as well as the print-to-PDF
              capability described in Paragraph 3(d)), and the Remote Review Laptop
              shall not be connected to a printer in any way;

              (xiv) The Authorized Reviewer shall maintain a log of the time that they
              spend reviewing materials on the Remote Review Laptop during each
              review session in the form attached as Exhibit A, which shall be made
              available to Defendant upon request; and

              (xv) The Authorized Reviewer may retain the Remote Review Laptop
              for a period of one (1) month after delivery by Defendant’s Remote
              Review Vendor, after which the Remote Review Laptop must be returned
              to Defendant’s Remote Review Vendor in accordance with paragraph 3(c)
              below, unless Defendant requests return earlier due to (1) the entry of an
              order dismissing or entering final judgment in this matter; (2) the entry of
              an order staying or administratively closing the case; (3) the conclusion of
              the Authorized Reviewer’s engagement with any party to this matter or
              involvement in this matter; (4) review via the method contemplated by the
              Protective Orders is again feasible consistent with court, federal, state, and
              local guidance or orders relevant to the parties’ ability to conduct in-
              person review of Schematics; or (5) the entry of a subsequent protective
              order that contemplates the return of Schematics Computers. Defendant
              agrees to reasonably cooperate with requests for extension of this time
              period if additional time is necessary for the Authorized Reviewer to
              complete the remote review.

       (c)   Any Remote Review Laptop made available by Defendant to Plaintiff’s
Authorized Reviewers may be transported as follows:

              (i)     Via hand carry, Federal Express, or other similarly reliable courier
              by Defendant to a location mutually agreed upon by the Parties, but may
              not be transported outside the United States; and

              (ii)    Each Remote Review Laptop may not be removed from said
              location, except to be returned to the location requested by the Defendant
              via hand carry, Federal Express, or other similarly reliable courier, after
              providing notice to Defendant of the intended shipment and receiving
              confirmation from Defendant that such shipment can be securely received.

              (iii) Each Remote Review Laptop may be transported from one
              Authorized Reviewer to another or from an Authorized Reviewer’s home
              to their office via hand carry.

        (d)     Defendant will endeavor to accommodate reasonable print requests from
Plaintiff according to the following procedures:




                                        5
        Case 6:20-cv-00108-ADA Document 98 Filed 12/06/21 Page 6 of 6




                     (i)     During a review session, the Authorized Reviewer may utilize the
                     “print to PDF” function that will be made available to the Authorized
                     Reviewer to save “print to PDF” files at a designated location on the
                     secured standalone computer. At the end of the review session,
                     Defendant’s vendor will download the “print to PDF” files from the
                     designated location on the secured standalone computer;

                     (ii)    Upon receipt of notice that such “print to PDF” files have been
                     collected by Defendant’s vendor, Defendant’s counsel may have two (2)
                     business days to print the Schematics contained in the collected “print to
                     PDF” files. Then, Defendant will follow the normal procedures regarding
                     providing printed Schematics pages set forth in the Protective Order at
                     Dkt. No. 95, ¶¶ 31-32. Once Defendant receives confirmation that the
                     printouts have been delivered using the normal procedures regarding
                     providing printed Schematics pages set forth in the Protective Order at
                     Dkt. No. 95, ¶32, Defendant’s vendor will wipe the “print to PDF” files
                     that have been created and collected by Defendant’s vendor. Authorized
                     Reviewer will reasonably cooperate with Defendant’s vendor to initiate a
                     VPN session, if necessary, for this wiping to be completed;

                     (iii) Such printed Schematics pages described in ¶ 3(c)(iii) above apply
                     to Plaintiff’s total printing page limit that the Parties have otherwise
                     agreed to. See Dkt. No. 95, ¶32; and

             (e)   Plaintiff’s outside counsel may deliver the printed Schematics pages to the
      Authorized Reviewer via hand carry;

             (f)      Authorized Reviewers may keep paper Schematics printouts in a secured
      locked area in their offices or homes. At all times when not being actively reviewed, all
      Schematics printouts at an Authorized Reviewer’s home must be stored within a locked
      high grade gun safe;

              (g)    Paper Schematics printouts may only be transported by or at the direction
      of a person authorized to receive the printouts to another person authorized to receive the
      printouts on paper via hand carry;

             (h)   Each Authorized Reviewer shall sign a copy of this Addendum by signing
      the acknowledgement shown in Exhibit B.
                                      December
So ORDERED and SIGNED this 6th day of                      , 20 21 .




                                            ALAN D ALBRIGHT
                                            UNITED STATES DISTRICT JUDGE



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